 Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.1 Filed 02/22/21 Page 1 of 22




             UNITED STATES DISTRICT COURT FOR THE
       EASTERN DISTRICT OF MICHIGAN SOUTHERN DIVISION

KATHERINE JARVIS
    Plaintiff                               Case No. ____________

-v-
                                            Hon. _______________
OAKLAND-MACOMB OBSTETRICS
AND GYNECOLOGY, P.C.


AND


JOHN MICALLEF,

       Defendants

Shinn Legal, PLC
Jason M. Shinn (P64453)
Attorney for Plaintiff
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P: 248-850-2290

             PLAINTIFF’S COMPLAINT AND JURY DEMAND

      Plaintiff, Katherine Jarvis, for her Complaint against Oakland-Macomb

Obstetrics and Gynecology, P.C. and Dr. John Micallef states as follows:

                  INTRODUCTION AND NATURE OF THE ACTION

      1.     Plaintiff Katherine Jarvis was a long time, dedicated employee to

Defendant Oakland-Macomb Obstetrics and Gynecology, P.C. (Defendant or

“Oakland-Macomb Obstetrics”). For about 15 years, she was employed as a
 Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.2 Filed 02/22/21 Page 2 of 22




sonographer for Defendant. She was recognized for her work ethic, positive attitude,

and patient care by coworkers, management, and patients.

      2.    As a frontline, essential worker, Ms. Jarvis risked her health for the

benefit of Defendant Oakland-Macomb Obstetrics and its patients. Yet Defendant

rewarded her by wrongfully disparaging her and casting her aside after she raised

concerns over her employer’s deficient response to the COVID-19 Pandemic, for

taking protected medical leave, requesting reasonable accommodations for her own

health issues, and in relaltion to her reporting on Defendant’s response and

compliance with COVID-19 related workplace rules, regulations, and law.

      3.    Plaintiff sues Defendant Oakland-Macomb Obstetrics for wrongful

termination and violations of the Families First Coronavirus Response Act

(Coronavirus Response Act), the Emergency Paid Sick Leave Act (which is part of the

Coronavirus Response Act), the Family Medical Leave Act (FMLA). She also sues

Defendant Oakland-Macomb Obstetrics and Defendant John Micallef for related

claims under Michigan’s Whistleblower Protection Act (WPA), MCL 15.361, et seq .,

Persons with Disabilities Civil Rights Act, and Intentional Infliction of Emotional

Distress.

                    THE PARTIES, JURISDICTION, AND VENUE




                                         2
 Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.3 Filed 02/22/21 Page 3 of 22




      4.     Plaintiff Katherine Jarvis (“Ms. Jarvis”) is an individual. Ms. Jarvis

lives in Oakland County, Michigan.

      5.     Defendant Oakland-Macomb is, upon information and belief, a

Michigan domestic professional corporation, with its principal place of business in

Oakland County, Michigan.

      6.     Defendant John Micellef is an individual. Upon information and belief,

he resides in the county within this Court’s jurisdiction and is an officer, manager,

or supervisor of Defendant Oakland-Macomb Obstetrics.

      7.     This Court has jurisdiction of this action under 29 U.S.C. § 2617 and

28 U.S.C. §1331.

      8.     This Court has supplemental jurisdiction over Plaintiff’s state law

claims under 28. U.S.C. § 1367 because they are so related to the federal claims they

form part of the same case controversy.

      9.     Venue is proper in this Court under 28 U.S.C. §1391(a) because the

claims asserted arose in Oakland County, Michigan and this is also the main place of

business of Defendant Oakland-Macomb Obstetrics.

      10.    The amount in controversy is greater than $75,000.00, exclusive of

costs and interest.

                                Factual Statement


                                          3
 Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.4 Filed 02/22/21 Page 4 of 22




      11.      Plaintiff incorporates by reference and realleges all the preceding

allegations.

      12.      Plaintiff was employed by Defendant Oakland-Macomb Obstetrics at its

place of business in Oakland County.

      13.      Plaintiff was an “employee” and Oakland-Macomb Obstetrics was her

“employer” under the applicable statute or statutes set forth below. She worked as

a sonographer for Defendant from about 2006 through November 24, 2020.

      14.      While employed by Defendant Oakland-Macomb Obstetrics, Plaintiff

met or exceeded the work performance expectations for Defendant Oakland-

Macomb Obstetrics.

       COUNT I AGAINST DEFENDANT OAKLAND-MACOMB OBSTETRICS –
                  VIOLATIONS OF FMLA (INTERFERENCE)

      15.      Plaintiff Katherine Jarvis incorporates by reference and realleges all the

preceding allegations.

      16.      Upon information and belief, Defendant Oakland-Macomb Obstetrics

employed over 50 or more employees for each working day during each of 20 or more

calendar workweeks in the current or preceding calendar year and within a 75-mile

radius from the location in which Ms. Jarvis worked. Thus, Defendant qualifies as an

“employer” under the FMLA (See 29 U.S.C. § 2611(4)).



                                            4
 Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.5 Filed 02/22/21 Page 5 of 22




      17.     Also, as a result of the COVID-19 Pandemic, the FMLA was expanded

by the Coronavirus Response Act and the Emergency Paid Sick Leave Act, to cover

employers with under 50 employees for COVID-19 related purposes. While those

provisions expired on December 31, 2020, violations made within the statute of

limitations for both the paid sick leave and expanded family and medical leave

provisions of the Coronavirus Response Act remains two or three years for willful

violations.

      18.     Defendant Oakland-Macomb Obstetrics engaged in commerce or in an

industry or activity affecting commerce.

      19.     Plaintiff was an “eligible employee” under the FMLA. See 29 U.S.C. §

2611(2). This is because she had been employed continuously by Defendant for over

a twelve-month period and worked at least 1,250 hours of service in the prior twelve-

month period.

      20.     The FMLA gives an eligible employee “a total of 12 weeks of leave

during any 12-month period for ... a serious health condition that makes the

employee unable to perform the functions of the position of such employee.” 29

U.S.C. § 2612(a)(1)(D).

      21.     An employee who returns to work within the twelve-week statutory

period are entitled to return to their previous position or an equivalent position. Id.


                                           5
 Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.6 Filed 02/22/21 Page 6 of 22




§ 2614(a)(1) .

      22.    An employee entitled to FMLA leave must be restored to his or her

former position or an equivalent position upon completion of leave, and “[t]he taking

of leave . . . shall not result in the loss of any employment benefit accrued prior to the

date on which the leave commenced.” Id. § 2614(a)(1)-(2).

      23.    The FMLA makes it “unlawful for any employer to interfere with,

restrain, or deny the exercise of or the attempt to exercise, any right” provided by the

act. The FMLA prohibits an employer from interfering with an employee’s exercise

of FMLA rights. 29 U.S.C. § 2615(a)(1); Demyanovich v. Cadon Plating & Coatings,

L.L.C., 747 F.3d 419 , 427 (6th Cir. 2014).

      24.    The FMLA also makes “… unlawful for any employer to discharge or

in any other manner discriminate against any individual for opposing any practice

made unlawful by ...” the Act. 29 U.S.C. § 2615(a)(2).

      25.    Ms. Jarvis had a right to leave under the FMLA, 29 U.S.C. § 2612(1).

This is because she had a condition that qualified for protective leave under the

FMLA.

      26.    Also, the Coronavirus Response Act and the Paid Sick Leave Act allow

for employees to use the protections of the FMLA if the employee requires leave for




                                            6
 Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.7 Filed 02/22/21 Page 7 of 22




“a qualifying need related to a public health emergency” or is “experiencing COVID-

19 symptoms and is seeking a medical diagnosis.”

      27.    Plaintiff required leave for “a qualifying need related to a public health

emergency.” Plaintiff took about seven days of leave because she experienced severe

migraines caused by Defendant’s response to the COVID-19 Pandemic and

Defendant’s working conditions in that pandemic.

      28.    Defendant Oakland-Macomb Obstetrics unnecessarily exacerbated the

stress of working in a pandemic, including, but not limited to the following: (i)

Having a deficient or non-existent response to the COVID-19 Pandemic; (ii) by

rejecting or ignoring Plaintiff’s reasonable suggestions to protect against or reduce

the risk of COVID-19 transmission; (iii) failing to follow industry best-practices or

recommendations of Michigan or federal agencies; (iv) failing to limit the number of

people attending a patient’s appointment; (v) refusing to modify Plaintiff’s schedule

in response to her medical condition; and (vi) responding to Plaintiff’s concerns by

berating or demeaning her and calling her “paranoid.” These actions resulted in

Plaintiff’s need for medical leave, which began around May 29, 2020.

      29.    Defendants also advised Plaintiff that Defendant Oakland-Macomb

Obstetrics’ employees - people that worked with Plaintiff - had tested positive for

Covid-19 or experienced COVID-19 symptoms. This also caused Plaintiff more


                                          7
 Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.8 Filed 02/22/21 Page 8 of 22




stress and to experience more migraines, which also required her to take medical

leave.

         30.   Plaintiff followed Defendants’ policy for taking leave, including

providing Defendant with notice and explanation for the leave. For example, she

notified her supervisor, Lyndie Marcoux, about Plaintiff’s need to take medical leave

because of her migraines.

         31.   Thus, Defendant, through its physician-managers or Plaintiff’s

supervisor, knew why the leave was taken and why it qualified for protections under

the FMLA, Coronavirus Response Act and the Emergency Paid Sick Leave Act.

         32.   Plaintiff also took medical leave because of her migraines around

November 9, 2020 through November 10, 2020.

         33.   Defendant interfered with and denied Plaintiff her rights under the

FMLA, Coronavirus Response Act, and the Emergency Paid Sick Leave Act. Such

interference and denial included, but was not limited to disparaging her as

“paranoid,” demeaning her, retaliating against her, deciding to terminate Plaintiff in

the time leading up to November 24, 2020, and wrongfully canceling her insurance

benefits, all in violation of the FMLA and FMLA related statutes described above.

         34.   Defendant’s actions were intentional and taken with deliberate

disregard for Plaintiff’s rights.


                                          8
 Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.9 Filed 02/22/21 Page 9 of 22




      35.    Defendant Oakland-Macomb Obstetrics’ interference with Plaintiff’s

leave has directly and proximately caused Plaintiff significant damages, including

loss of reputation, employment advancement, embarrassment, humiliation, outrage,

mental distress, and economic loss.

      36.    Defendant Oakland-Macomb Obstetrics’ actions and termination of

Plaintiff interfered with her attempt to exercise her right of entitlement to leave

under the FMLA, under 29 U.S.C. § 2615(a). As such, Defendant Oakland-Macomb

Obstetrics violated the FMLA.

      Wherefore, Plaintiff is entitled to an award of damages over $75,000.00,

including but not limited to back pay, compensatory damages, liquidated damages,

punitive damages, costs, attorneys’ fees, prejudgment interest, and other damages

as allowed by law and equity.

       COUNT II AGAINST DEFENDANT OAKLAND-MACOMB OBSTETRICS
                  VIOLATIONS OF FMLA (RETALIATION)

      37.    Plaintiff Katherine Jarvis incorporates by reference and realleges all the

preceding allegations.

      38.    The FMLA prohibits an employer from retaliating with an employee’s

exercise of FMLA rights. 29 U.S.C. § 2615(a)(2); Killian v. Yorozu Auto. Tenn., Inc.,

454 F.3d 549 , 555-56 (6th Cir. 2006) (quoting Hoge v. Honda of Am. Mfg., Inc., 384

F.3d 238 , 244 (6th Cir. 2004)).

                                          9
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.10 Filed 02/22/21 Page 10 of 22




      39.    Defendant retaliated against Plaintiff for exercising her rights under the

FMLA, Coronavirus Response Act, and the Emergency Paid Sick Leave Act. Such

retaliation included, but was not limited to disparaging her as “paranoid,” demeaning

her, and deciding to terminate Plaintiff in the time leading up to November 24, 2020,

all in violation of the FMLA and FMLA related statutes described above.

      40.    There is a causal connection between Plaintiff’s protected activity and

Defendants retaliatory actions described in the Complaint.

      41.    Thus, Defendant Oakland-Macomb Obstetrics, in terminating

Plaintiff’s employment for requesting FMLA, willfully violated the anti-interference

provisions of the FMLA, e.g., 29 U.S.C. § 2615.

      42.    The violations in the preceding paragraph by Defendant Oakland-

Macomb Obstetrics make it responsible and liable under the FMLA, 29 U.S.C. §

2617(a).

      43.    As a direct and proximate result of Defendant’s unlawful actions,

Plaintiff has sustained injuries and damages including, but not limited to, loss of pay,

loss of career opportunities, humiliation, embarrassment, mental anguish, emotional

distress, and loss of reputation.

      44.    As a result, Ms. Jarvis is entitled to recover her damages, including lost

wages and benefits, liquidated damages, attorneys’ fees, costs, interest,


                                          10
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.11 Filed 02/22/21 Page 11 of 22




reinstatement, front pay and benefits, and any other legal and equitable relief to

which she may be entitled.

      Wherefore, Plaintiff is entitled to an award of damages over $75,000.00,

including but not limited to back pay, compensatory damages, liquidated damages,

punitive damages, costs, attorneys’ fees, prejudgment interest, and other damages

as allowed by law and equity.

             COUNT III AGAINST DEFENDANTS OAKLAND-MACOMB
            OBSTETRICS AND MICALLEF – VIOLATIONS OF MICHIGAN’S
                PERSONS WITH DISABILITIES CIVIL RIGHTS ACT

      45.    Plaintiff Katherine Jarvis incorporates by reference and realleges all the

preceding allegations.

      46.    At all material times, Plaintiff was an employee, and Defendants

Oakland-Macomb Obstetrics and John Micallef were employers, covered by and

under the Persons with Disabilities Civil Rights Act (PDCRA), MCL 37.1201 et seq.

      47.    Upon information and belief, Defendant Micallef has maintained an

ownership interest in Defendant Oakland-Macomb Obstetrics discussed in this

Complaint.

      48.    Upon information and belief, Defendant Micallef is also a manager for

Defendant Oakland-Macomb Obstetrics.




                                          11
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.12 Filed 02/22/21 Page 12 of 22




      49.    At all material times, Plaintiff performed her job duties in a manner that

was satisfactory or better than expected by Defendant Oakland-Macomb Obstetrics

or Defendant Micallef.

      50.    As stated above, Plaintiff experienced debilitating migraine headaches

as a result of the stress caused by the COVID-19 Pandemic, unsafe work conditions,

and Defendants’ inadequate response plan to COVID-19. Plaintiffs’ migraines

required her to take intermittent leave beginning around May 29. Plaintiff’s need for

intermittent leave continued through November 10, 2020.

      51.    Plaintiff’s migraines and treatment also led to Plaintiff to asking for

certain workplace accommodations and restrictions upon returning to work. These

workplace accommodations included, but are not limited to, limiting the number

people who could attend a patient’s appointment, providing personal protection gear

or similar equipment, evenly distributing appointments among sonographers to limit

exposure to COVID-19, and other reasonable accommodations.

      52.    Plaintiff communicated her condition and need for workplace

accommodations beginning in or around May 29, 2020, initially to her supervisor,

Lyndia Marcoux, and then other managers or owners of Defendant Oakland-

Macomb Obstetrics.

      53.    In the alternative, Defendant Oakland-Macomb Obstetrics and


                                          12
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.13 Filed 02/22/21 Page 13 of 22




Defendant Micallef believed Plaintiff was disabled, including when Defendant

Micallef called her “paranoid.”

      54.   Upon information and belief, Defendants also made additional

disparaging or conclusionary statements about her mental condition.

      55.   Plaintiff’s request for time-off and other accommodations described

above were reasonable workplace accommodations, consistent with applicable

workplace laws or regulations, or both.

      56.   Plaintiff also made other suggestions and requests to eliminate or

reduce the risks of transmitting COVID-19 within Defendant Oakland-Macomb

Obstetrics’ workplace, which would have also alleviated or eliminated Plaintiff’s

stress from contracting COVID-19.

      57.   Plaintiff’s requested workplace accommodations were refused or

ignored by Defendant Oakland-Macomb Obstetrics and Defendant Micallef.

      58.   Thereafter, Defendant Oakland-Macomb Obstetrics and Defendant

Micallef retaliated against Plaintiff because she asked for the workplace

accommodations described here.

      59.   Additionally, Defendant Micallef or Defendant Oakland-Macomb

Obstetrics refused to engage in any discussion about alternative accommodations or

why the requested accommodations were not reasonable.


                                          13
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.14 Filed 02/22/21 Page 14 of 22




      60.    Upon information and belief, Defendant Oakland-Macomb Obstetrics’

policies or practices permit the use of kind or similar accommodations Plaintiff used

or requested.

      61.    Upon information and belief, guidelines, policies, statutes, or

regulations of Michigan and the federal government also require the some or similar

kings of accommodations Plaintiff had suggested to be implemented by Defendants.

      62.    In November 2020, Defendant Oakland-Macomb Obstetrics decided to

terminate Plaintiff.

      63.       Upon information and belief, John Micallef was the decision-maker or

a decision-maker when it came to terminating Plaintiff.

      64.    Defendants told Plaintiff she was terminated on or about November 24,

2020. Defendants’ refused to provide Plaintiff a reason for the termination.

      65.    Defendant Oakland-Macomb Obstetrics and Defendant Micallef’s

handling of accommodation issues like those set forth here clarified the arbitrary and

capricious manner in which it treats its employees in relation to fulfilling its

compliance with Michigan employment law like the PDCRA.

      66.    Plaintiff’s conditions constitute a disability, as that term is defined

under the PDCRA, MCL 37.1103(e).




                                          14
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.15 Filed 02/22/21 Page 15 of 22




      67.    At the time of her termination, Plaintiff’s condition was unrelated to

her ability to perform the duties of her job and was unrelated to her qualifications for

employment with Defendant Oakland-Macomb Obstetrics.

      68.    The actions of Defendant Oakland-Macomb Obstetrics and Defendant

Micallef described here constitute discrimination against Plaintiff under the

PDCRA.

      69.    Plaintiff objected and otherwise opposed Defendant Micallef and

Defendant Oakland-Macomb Obstetrics’ actions and refusal to accommodate her

request for reasonable workplace accommodations. In response, Defendant Micallef

and Defendant Oakland-Macomb Obstetrics retaliated against Plaintiff after she

sought to exercise her rights under the PDCRA.

      70.    A motivating factor for Plaintiff’s termination stemmed from unlawful

disability discrimination by Defendant Micallef and Defendant Oakland-Macomb

Obstetrics. Specifically, Plaintiff’s medical condition, Defendants’ perception of her

condition, or requested accommodation for the conditions, or a combination of the

preceding were a determining factor in their decision to terminate Plaintiff.

      71.    The actions of Defendant Micallef and Defendant Oakland-Macomb

Obstetrics and its other agents, representatives, and employees were intentional and

disregarded the rights Michigan affords to workers like Ms. Jarvis under the PDCRA.


                                           15
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.16 Filed 02/22/21 Page 16 of 22




      72.      As a direct and proximate result of Defendant Oakland-Macomb

Obstetrics’ unlawful discrimination, Ms. Jarvis has sustained injuries and damages,

including the loss of earnings, and earning capacity; loss of fringe and pension

benefits; mental and emotional distress; humiliation and embarrassment; loss of

career opportunities; and loss of the ordinary pleasures of everyday life, including

the right to pursue a gainful occupation of choice.

      WHEREFORE, Plaintiff Katherine Jarvis asks this Court to enter judgment

against Defendants Oakland-Macomb Obstetrics and Defendant Micallef as follows:

            a. Compensatory damages in whatever amount over $25,000 Plaintiff is

               entitled.

            b. An award of back pay and the value of lost fringe benefits and pension

               benefits, past, and future.

            c. Exemplary damages in whatever amount over $25,000 Plaintiff is

               entitled.

            d. An award of interest, costs, and reasonable attorney fees.

            e. Any other relief appears appropriate at the time of final judgment.

      COUNT IV AGAINST DEFENDANT OAKLAND-MACOMB OBSTETRICS –
       VIOLATIONS OF MICHIGAN’S WHISTLEBLOWER’S PROECTION ACT

      73.      Plaintiff Katherine Jarvis incorporates by reference and realleges all the

preceding allegations.

                                             16
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.17 Filed 02/22/21 Page 17 of 22




          74.   Ms. Jarvis sues Defendant for violating the Michigan WPA MCL 15.361

et seq.

          75.   Defendant Oakland-Macomb Obstetrics at all material times was an

“employer” under the WPA. See MCL 15.361 et seq.

          76.   At all material times, Ms. Jarvis was an employee of Defendant Oakland-

Macomb Obstetrics under the WPA. Id.

          77.   Specifically, Ms. Jarvis was “a person who performs a service for wages

or other remuneration under a contract of hire, written or oral, express or implied”

and Defendant Oakland-Macomb Obstetrics compensated Ms. Jarvis for the services

he provided under MCL § 15.361(a).

          78.   Ms. Jarvis raised concerns to Defendant’s managers or executives about

Defendants’ workplace conditions and response to COVID-19, including its failures

to follow applicable rules, regulations, statutes, or policies of Michigan or federal

government for responding to COVID-19.

          79.   She began to raise these issues or around April.

          80.   She also raised these issues right before she was fired on around

November 24, 2020.

          81.   Ms. Jarvis observed Defendant Oakland-Macomb Obstetrics failing to

implement workplace policies and procedures called for under Michigan or applicable


                                             17
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.18 Filed 02/22/21 Page 18 of 22




federal agencies in responding to COVID-19.

      82.    Specifically and as discussed above, many times Plaintiff raised concerns

about her employer’s refusal to provide or unreasonable delay in providing basic

personal protection equipment and related protections. She also raised many concerns

about Defendant’s Covid-19 response plan and its unnecessary and unreasonable

refusal to limit visitors accompanying patients receiving services at Defendant’s

offices and related mitigation measures.

      83.    In response to the preceding observations, Ms. Jarvis investigated the

policies and procedures from these governmental agencies for responding to COVID-

19, as well as how other similarly situated businesses like Defendant were responding

to the COVID-19 Pandemic.

      84.    Plaintiff’s investigation also included her personally contacting

MIOSHA about filing a complaint for the violations by Defendant Oakland-Macomb

Obstetrics that she had observed.

      85.    Before filing a complaint with MIOSHA, she communicated to

Defendant’s management about her understanding about Defendant Oakland-

Macomb Obstetrics’ obligations for complying with applicable law for responding to

COVID-19.

      86.    However, Defendant Oakland-Macomb Obstetrics declined to take the


                                           18
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.19 Filed 02/22/21 Page 19 of 22




required action.

      87.    And one manager or officer (John Micellf) even mocked Plaintiff by

calling her “paranoid.”

      88.    Ms. Jarvis, however, made it clear to Defendant and its managers that

she would not ignore the issue and she made it clear she would continue to act,

including through local or state government or other legal means.

      89.    Ms. Jarvis was fired because she reported or because she was about to

report a violation or suspected violation of a law, regulation, or rule of the State of

Michigan or Federal Government.

      90.    Plaintiff was also fired because she opposed Defendant’s conduct and

practices made illegal by a law, regulation, or rule of the State of Michigan or Federal

Government.

      91.    Ms. Jarvis’s termination was unlawful retaliation by Defendant Oakland-

Macomb Obstetrics in violation of Michigan’s WPA.

      92.    Defendant Oakland-Macomb Obstetrics’ actions described above were

intentional, wrongful, and unlawful.

      93.    As a direct and proximate result of Defendant Oakland-Macomb

Obstetrics’ unlawful actions against Ms. Jarvis, she sustained injuries and damages,

including, but not limited to, loss of earnings; increased housing costs, loss of career


                                          19
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.20 Filed 02/22/21 Page 20 of 22




opportunities; mental and emotional distress; loss of reputation and esteem in the

community; and loss of the ordinary pleasures of everyday life, including the

opportunity to pursue gainful occupation of choice.

      WHEREFORE, Plaintiff Ms. Jarvis requests this Honorable Court enter

judgment against Defendant Oakland-Macomb Obstetrics as follows:

      a.       Compensatory damages in whatever amount she is entitled;

      b.       Exemplary damages in whatever amount she is entitled;

      c.       Judgment for lost wages, past, and future, in whatever amount she is

entitled;

      d.       An award for the value of lost fringe and pension benefits, past, and

future;

      e.       An award of costs and attorney fees, which is specifically provided for

under MCL 15.364;

      f.       An award of interest; and

      g.       Whatever other equitable relief appears appropriate at the time of final

judgment.

     COUNT V AGAINST DEFENDANT OAKLAND-MACOMB OBSTETRICS AND
       MICELLEF: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      94.      Ms. Jarvis incorporates by reference and realleges all the preceding

allegations.

                                           20
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.21 Filed 02/22/21 Page 21 of 22




       95.    Defendant Oakland-Macomb Obstetrics’ conduct as outlined above was

intentional or reckless.

       96.    Defendant’s conduct as outlined above was extreme, outrageous, and

beyond all possible bounds of decency, and of such character as to be intolerable in a

civilized society.

       97.    Defendant’s conduct was not for any proper purpose.

       98.    Defendant’s conduct caused the severe and serious emotional distress to

Ms. Jarvis.

       99.    Defendant’s conduct, which proximately caused Ms. Jarvis’s injuries

and damages, was grossly negligent because it showed a substantial lack of concern for

Ms. Jarvis’s physical and emotional well-being.

       100. As a direct and proximate result of Defendant’s wrongful acts, Plaintiff

Ms. Jarvis has sustained injuries and damages including, but not limited to,: her health,

loss of earnings and earning capacity; loss of career opportunities; loss of fringe and

pension benefits; mental anguish; physical and emotional distress; humiliation and

embarrassment; loss of professional reputation; and loss of the ordinary pleasures of

everyday life, including the right to pursue gainful employment of her choice.

       WHEREFORE, Plaintiff Katherine Jarvis prays this Honorable Court grant

these remedies against Defendants Micellef and Oakland-Macomb Obstetrics:


                                           21
Case 2:21-cv-10381-BAF-RSW ECF No. 1, PageID.22 Filed 02/22/21 Page 22 of 22




         a.       Award Plaintiff compensatory damages;

         b.       Award Plaintiff punitive damages;

         c.       Award Plaintiff reasonable attorney fees, costs, and interest; and

         d.       Award any other relief this Court deems just and proper.


                                      Respectfully submitted,

                                      Shinn Legal, PLC

                               By:    /s/Jason M. Shinn          Dated: February 22, 2021
                                      Attorney for Plaintiff



                                      JURY DEMAND

         Plaintiff Katherine Jarvis asks for a jury trial on all legal claims and prospective

defenses, except for those claims based on equity or that intrinsically involve issues

of law properly triable by the judge assigned to this case.

                                      Respectfully submitted,

                                      Shinn Legal, PLC

                               By:    /s/Jason M. Shinn          Dated: February 22, 2021
4851-8838-5501, v. 1




                                               22
